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                                 Slip Op. 21– 

                 UNITED STATES COURT OF INTERNATIONAL TRADE
__________________________________________
                                           :
UNITED STATES,                             :
                                           :
      Plaintiff,                           :
                                           :
              v.                           :
                                           :
AEGIS SECURITY INSURANCE COMPANY, :           Before: Richard K. Eaton, Judge
                                           :
      Defendant.                           :  Consol. Court No. 11-00388
__________________________________________:
                                           :
AEGIS SECURITY INSURANCE COMPANY, :
                                           :
      Third-Party Claimant,                :
                                           :
              v.                           :
                                           :
TRICOTS LIESSE 1983, INC.,                 :
                                           :
      Third-Party Defendant.               :
__________________________________________:

                           MEMORANDUM OPINION and ORDER

[Third-Party Claimant Aegis Security Insurance Company’s unopposed motion for summary
judgment granted.]

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        Stephen C. Tosini, Commercial Litigation Branch, Civil Division, U.S. Department of
Justice, of Washington, DC, for Plaintiff.

      T. Randolph Ferguson, Sandler, Travis & Rosenburg, PA, of San Francisco, CA, for
Defendant, and Third-Party Claimant.

       John B. Brew and Frances P. Hadfield, Crowell & Moring LLP, of Washington, DC, for
Third-Party Defendant.

          Eaton, Judge: Before the court is an unopposed motion for summary judgment by Aegis

Security Insurance Company (“Aegis”), in its capacity as Third-Party Claimant, against Third-
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Party Defendant Tricots Liesse 1983, Inc. (“Tricots”). See Aegis’ Original Mem. Supp. Mot.

Summ. J., ECF No. 126 (“Aegis Original Br.”). Aegis, a surety company, commenced this third-

party action against Tricots, an importer, following the complaint in the main action, brought by

Plaintiff the United States (“Plaintiff”) to collect unpaid duties owed by Tricots that were secured

by a customs bond written by Aegis. See Aegis’ Answer and Third-Party Claim (Jan. 9, 2012),

ECF No. 13; Pl.’s Compl., Ex. A (bond), ECF No. 2-1.

       The court has jurisdiction over Aegis’ third-party action under 28 U.S.C. § 1583(2). See 28

U.S.C. § 1583(2) (2012) (“In any civil action in the Court of International Trade, the court shall

have exclusive jurisdiction to render judgment upon any . . . third-party action of any party, if . . .

such claim or action is to recover upon a bond or customs duties relating to such merchandise.”).

       For the reasons that follow, the court grants summary judgment in favor of Aegis, and

directs Aegis to submit proof of the amount of its reasonable attorney’s fees, costs, and expenses,

and a proposed judgment, in accordance with this Memorandum Opinion and Order.



                                         BACKGROUND

       In the main action, the United States sued on a customs bond written by Aegis to secure

duties owed by Tricots on its imports of knitted circular fabric from Canada. See United States v.

Aegis Sec. Ins. Co., 43 CIT __, 422 F. Supp. 3d 1328 (2019). The court granted summary judgment

in favor of Plaintiff, finding that the United States “ha[d] been deprived of lawful duties and fees

as a result of Tricots’ violation of [19 U.S.C.] § 1592(a), and that the unpaid duties and

merchandise processing fees [were] due and owing to the Government from Tricots and from

Aegis, as surety.” See id., 43 CIT at __, 422 F. Supp. 3d at 1352. In so ruling, the court noted that
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“Aegis’ liability for duties [was] solely contractual and [was] limited by the face amount of the

bond.” Id., 43 CIT at __, 422 F. Supp. 3d at 1352 n.18 (citing 19 C.F.R. § 113.62(a)).

       Judgment in the main action was entered on January 9, 2020. See Judgment (Jan. 9, 2020),

ECF No. 125. As against Aegis, the court entered judgment in the amount of $500,113.32 in lost

revenue up to the bond limit, plus $260,031.35 in statutory interest and $81.98 per day in post-

judgment interest. As against Tricots, the court entered judgment in the amount of $2,249,196.04

for unpaid duties and merchandise processing fees, plus post-judgment interest.

       On May 1, 2020, Aegis tendered $768,916.53 to Plaintiff in satisfaction of the judgment

against it. See Aegis Original Br., Ex. 1.

       On May 14, 2020, Aegis filed its motion for summary judgment, seeking reimbursement

of the amount it tendered to Plaintiff, plus reasonable attorney’s fees, costs, and expenses incurred

in defending the main action and pursuing its third-party action.

       On June 17, 2020, Tricots filed a consent motion for an extension of time to respond to

Aegis’ motion, citing, as good cause, the close of its factory and facilities due to the COVID-19

pandemic. See Tricots’ Mot. Extension of Time (June 17, 2020), ECF No. 127. The court granted

the extension, giving Tricots an additional two months, i.e., until August 17, 2020, to respond. See

Order (June 23, 2020), ECF No. 128. No response was filed by the extended deadline. Counsel for

Tricots withdrew their appearances approximately five weeks after the extended deadline, on

September 23, 2020. See Order (Sept. 23, 2020), ECF No. 132. Tricots did not obtain substitute

counsel.

       On November 18, 2020, the court ordered supplemental briefing on the contractual basis

for Aegis’ claims for reimbursement and attorney’s fees, costs, and expenses. See Order (Nov. 18,

2020), ECF No. 133. In response, Aegis filed its first supplemental brief, to which it attached the
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declaration of Amy Morlier, an employee of Aegis’ agent, Avalon Risk Management, Inc.,

regarding an “Application and Indemnity Agreement” that was entered into by Avalon and Tricots

on October 17, 2000. See Aegis’ First Suppl. Br., ECF No. 136.

       On December 10, 2020, the court scheduled oral argument on Aegis’ motion for summary

judgment. See Order (Dec. 10, 2020), ECF No. 135. Tricots received notice of the scheduled

proceeding and declined to participate.

       Oral argument was held on December 17, 2020, following which the court ordered Aegis

to provide further supplemental briefing in support of its motion, relating to the extent, if any, the

language in the bond, that was the subject of the main action, supported Aegis’ third-party claim

for reimbursement. See Order (Dec. 17, 2020), ECF No. 138. In response, Aegis filed its second

supplemental brief, to which it attached a second declaration by Ms. Morlier. See Aegis’ Second

Suppl. Br., ECF No. 141.

       By way of proof in support of its claim for attorney’s fees, costs, and expenses, Aegis has

attached to its motion what appears to be attorney time sheets, but has not submitted a declaration

or other proof to support the reasonableness of the amounts it claims to have incurred. See Aegis’

Original Br., Ex. 2.A & 2.B.



                                   STANDARD OF REVIEW

       Summary judgment may be granted where there is no genuine issue of material fact, and

the movant is otherwise entitled to judgment as a matter of law. See U.S. CT. INT’L TR. R. 56(a);

see also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247 (1986).
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                                   LEGAL FRAMEWORK

       A customs bond is a tripartite agreement, entered into by a principal and a surety, for the

benefit of the United States.1 See 19 C.F.R. § 113.62(a)(1)(ii) (requiring “principal and surety,

jointly and severally” to “[p]ay, as demanded by [Customs], all additional duties, taxes, and

charges subsequently found due . . . on any entry secured by [a] bond”); see also Hartford Fire

Ins. Co. v. United States, 40 CIT __, __, 254 F. Supp. 3d 1333, 1355 (2017) (finding that the

customs bonds at issue were “valid and enforceable contracts between Customs, the importer

principals, and [the surety,] Hartford”). U.S. Customs and Border Protection (“Customs”)

regulations set out requirements for bond contracts, including that the signature and seal of

corporate sureties and principals appear on the bond, among other requirements and conditions.

See generally 19 C.F.R. Pt. 113; see also id. § 113.37(e) (“A bond executed by a corporate surety

must be signed by an authorized officer or attorney of the corporation and the corporate seal must

be affixed immediately adjoining the signature of the person executing the bond . . . .”); id.

§ 113.33(b) (“The bond of a corporate principal must be signed by an authorized officer or attorney

of the corporation and the corporate seal must be affixed immediately adjoining the signature of

the person executing the bond . . . .”). This Court has held that Customs’ regulatory bond

requirements are “procedural” in that they “are meant to protect Customs in furtherance of its

mission to protect revenue of the United States, and do not clearly alter the rights of the private

parties engaging in the bonding procedure.” Hartford Fire Ins. Co., 40 CIT at __, 254 F. Supp. 3d

at 1351.



       1
               The language of the bond itself expresses the parties’ respective promises and the
purpose of the contract: “In order to secure payment of any duty, tax or charge and compliance
with law or regulations as a result of activity covered by any condition referenced below, we, the
below named principal(s) and surety(ies), bind ourselves to the United States in the amount or
amounts, as set forth below.” Pl.’s Compl., Ex. A.
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       Principles of contract law determine the validity of the bond contract and the respective

duties of the parties. See Hartford Fire Ins. Co., 40 CIT at __, 254 F. Supp. 3d at 1355 (citations

omitted) (applying “ordinary principles of contract construction as would be applicable to any

contract action between private parties” in evaluating the bonds at issue). Thus, the failure to

satisfy a procedural requirement under Customs’ regulations does not invalidate the bond, where

the evidence otherwise shows the parties’ intention to be bound by the contract. See id., 40 CIT at

__, 254 F. Supp. 3d at 1355 (citing NRM Corp. v. Hercules, Inc., 758 F.2d 676, 681 (D.C. Cir.

1985)). Accordingly, the absence of an importer’s signature on a bond does not render a bond void

for want of an “essential term,” where other circumstances, including, as in Hartford, entry

paperwork, indicated the importer’s intention to be bound. See id., 40 CIT at __, 254 F. Supp. 3d

at 1357-58.



                                          DISCUSSION

       By its motion, Aegis maintains that there is no genuine issue of material fact that would

preclude granting summary judgment in its favor on its claim that Tricots agreed (1) to reimburse

it for amounts paid to the United States on Tricots’ behalf for lost duties and interest, and (2) to

indemnify it for attorney’s fees, costs, and expenses incurred in defending the main action and in

bringing the third-party action.



I.     Undisputed Facts

       In the year 2000, Tricots applied for a continuous transaction bond in the amount of

$230,000 from Aegis through Aegis’ agent, Avalon Risk Management, Inc. See Aegis’ First Suppl.

Br., Ex. 3 (Morlier Decl.) ¶ 6. To obtain the bond, on October 17, 2000, Tricots executed a
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“Customs Bond Application and Indemnity” form and submitted it to Avalon. See Aegis’ First

Suppl. Br., Ex. 3.1. Under the Indemnity Agreement on the back of the form, the execution of

which was a condition to Aegis’ issuance of the bond on Tricots’ behalf, Tricots agreed:

       To indemnify the Company [i.e., Aegis] and hold it harmless from and against any
       and all attorneys’ fees, costs, damages, demands, liabilities, losses and expenses,
       regardless of the nature, which arise by reason of, or as a consequence of, the
       Company executing a bond on the Principal’s behalf, and whether or not the
       Company has paid any sums, including, but not limited to: expenses paid or
       incurred in connection with claims, judgments or suits under its bonds; sums paid
       (including interest), or liabilities incurred, in settlement of claims; expenses paid or
       incurred in enforcing the terms of this Indemnity Agreement; expenses paid or
       incurred by the Company in procuring, or attempting to procure, release from
       liability under its bond; expenses incurred in recovering, or attempting to recover,
       losses or expenses paid or incurred; attorneys’ fees, costs or expenses; accounting,
       engineering or investigation services; adjustments of claims; premiums on bonds
       issued by the Company.

Aegis’ First Suppl. Br., Ex. 3.2 § 1.

       In its answer to Aegis’ third-party claim, Tricots admitted that “[a]t [its] special instance

and request,” Aegis, as surety, “executed and delivered to United States Customs and Border

Protection [(“Customs”)], that certain Customs bond, a $230,000 Continuous Bond, dated October

24, 2002, attached to Plaintiff’s Complaint as Exhibit A.” Aegis’ Third-Party Claim ¶ 5; Tricots’

Third-Party Def.’s Answer ¶ 5, ECF No. 37. Under the terms of the bond:

       Principal(s) [i.e., Tricots] . . . agree to reimburse surety and/or its agents any amount
       paid to U.S. Customs on behalf of the principal(s) and to pay all collection fees and
       legal costs in the recovery of payments made by the surety and/or its agents to U.S.
       Customs.

Pl.’s Compl., Ex. A; see also 19 C.F.R. § 113.62(a) (“Agreement to Pay Duties, Taxes, and

Charges”).2 Tricots did not sign the bond, but it paid the annual premiums throughout the life of

the bond. See Aegis Second Suppl. Br., Ex. 4 ¶ 6 (Second Morlier Decl.) & Ex. 4.1.




       2
               Customs’ regulations state, in pertinent part:
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       On January 9, 2020, Plaintiff obtained a judgment against Aegis, which Aegis has satisfied

by tendering $768,916.53 to the United States. See Aegis’ Original Br., Ex. 1.



II.    Reimbursement Claim

       Upon review of the declarations of Ms. Morlier and the indemnity agreement and other

exhibits attached thereto, the language of the bond, and the parties’ undisputed conduct and

admissions in their pleadings, the court grants summary judgment in favor of Aegis on its third-

party claim for reimbursement of amounts it paid under the bond to the United States.

       There is no dispute that Tricots requested, and Aegis executed, the bond that formed the

basis of Plaintiff’s claims in the main action. Nor is it disputed that Tricots paid the annual

premiums throughout the life of the bond. Thus, notwithstanding the absence of Tricots’ signature,

there can be little doubt that the bond is valid. See Hartford Fire Ins. Co., 40 CIT at __, 254 F.

Supp. 3d at 1357-58.

       Turning to the language of the bond itself, it states that Tricots as principal “agree[s] to

reimburse surety and/or its agents any amount paid to U.S. Customs on behalf of the principal(s)

and to pay all collection fees and legal costs in the recovery of payments made by the surety and/or



              If merchandise is imported and released from [Customs] custody or
       withdrawn from a [Customs] bonded warehouse into the commerce of, or for
       consumption in, the United States, . . . the obligors (principal and surety, jointly
       and severally) agree to:

       (i) Deposit, within the time prescribed by law or regulation, any duties, taxes, and
       charges imposed, or estimated to be due, at the time of release or withdrawal; and

       (ii) Pay, as demanded by [Customs], all additional duties, taxes, and charges
       subsequently found due, legally fixed, and imposed on any entry secured by this
       bond.

19 C.F.R. § 113.62(a)(1).
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its agents to U.S. Customs.” Pl.’s Compl., Ex. A (emphasis added). There is no dispute that Aegis

satisfied its obligation under the bond when it tendered $768,916.53 to Plaintiff. See Aegis’

Original Br., Ex. 1. Thus, applying the law of contracts, Tricots must “reimburse [Aegis] and/or

its agents any amount paid to U.S. Customs on behalf of [Tricots].” Pl.’s Compl., Ex. A.

       Therefore, because there is no genuine issue of material fact that would preclude summary

judgment on Aegis’ third-party claim for reimbursement of $768,916.53, and the law directs that

the court must “give effect to the mutual intentions of the parties,” the court grants Aegis’ motion

for summary judgment on the reimbursement claim. See Hartford Fire Ins. Co., 40 CIT at __, 254

F. Supp. 3d at 1355 (citation omitted).



III.   Claim for Attorney’s Fees, Costs, and Expenses

       The language of both the bond and the indemnity agreement supports granting Aegis

recovery not only of amounts incurred to defend the main action, but also to pursue this third-party

action. The bond states that the principal “agree[s] . . . to pay all collection fees and legal costs in

the recovery of payments made by the surety and/or its agents to U.S. Customs.” Pl.’s Compl., Ex.

A (emphasis added). Moreover, it is clear from the indemnity agreement that Tricots agreed to

indemnify Aegis for “any and all attorneys’ fees, costs, damages, demands, liabilities, losses and

expenses, regardless of the nature, which arise by reason of, or as a consequence of, the Company

executing a bond on the Principal’s behalf.” Aegis’ First Suppl. Br., Ex. 3.2 § 1. “[T]he court’s

duty in construing the contracts at issue is to give effect to the mutual intentions of the parties.”

Hartford Fire Ins. Co., 40 CIT at __, 254 F. Supp. 3d at 1355. Thus, both the bond and the

indemnity agreement by their plain terms bind Tricots to pay any reasonable attorney’s fees, costs,

and expenses.
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       Aegis leaves it up to the court to determine an amount for “reasonable attorney’s fees,

cost[s,] and expenses as this Court . . . deems just and appropriate.” Aegis’ Second Suppl. Br. 8. It

submits that “$92,042.50 in attorney fees and $679.45 in costs and expenses . . . is a reasonable

sum spent in its defense of (1) the claims against [Tricots] prior to the trial, and (2) reimbursement

for trial preparation, and the reasonable fees and expenses incurred in pursuing its Third-Party

Claim.” Aegis’ First Suppl. Br. 9. Aegis fails, however, to support its proposed recovery amounts

(“$92,042.50 in attorney fees and $679.45 in costs and expenses”) with evidentiary support

showing that these amounts are reasonable. Rather, as proof, Aegis has submitted what appear to

be attorney time sheets, which are on Aegis’ letterhead, without an accompanying declaration from

a person with knowledge of these records to authenticate them and affirm the amounts that Aegis

paid, or that are due and owing. See Aegis’ Original Br., Ex. 2.A & 2.B. Absent a declaration or

other evidence as to the reasonableness of the amounts submitted by Aegis, the court cannot

determine the fair and reasonable value of Aegis’ counsel’s services. In order to permit the court

to make this determination, Aegis is directed to submit proof in a form that is modeled after this

Court’s Form 15, “Application For Fees And Other Expenses Pursuant To The Equal Access To

Justice Act,” which is available on the Court’s website, in accordance with the court’s order.



                                  CONCLUSION and ORDER

       For the foregoing reasons, Aegis’ motion for summary judgment is granted on its third-

party claim for reimbursement of $768,916.53, as well as for attorney’s fees, costs, and expenses

incurred in defending the main action and pursuing the third-party action. Accordingly, it is hereby

       ORDERED that Aegis’ motion for summary judgment is granted; it is further
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         ORDERED that Aegis shall submit proof to support its claim for attorney’s fees, costs,

and expenses that is modeled, in form and content, after this Court’s Form 15, “Application For

Fees And Other Expenses Pursuant To The Equal Access To Justice Act,” which is available on

the Court’s website; it is further

         ORDERED that Aegis shall submit a proposed Judgment that sets out the amounts owed

to it by Tricots, and an amount for reasonable attorney’s fees, costs, and expenses, in accordance

with this Memorandum Opinion and Order; and it is further

         ORDERED that Aegis’ proof to support its claim for attorney’s fees, costs, and expenses

and its proposed Judgment shall be submitted to the court no later than the date that is four weeks

from the date of this Memorandum Opinion and Order.




                                                                        /s/ Richard K. Eaton
                                                                       Richard K. Eaton, Judge

Dated:           )HEUXDU\
                New York, New York
